     Case 5:04-cr-40141-JTM   Document 339       Filed 01/09/06    Page 1 of 15




                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                         Plaintiff,          )       CRIMINAL ACTION
                                             )
v.                                           )       No.    04-40141-01, 02
                                             )
ARLAN DEAN KAUFMAN and                       )
LINDA JOYCE KAUFMAN,                         )
                                             )
                         Defendants.         )
                                             )


                              MEMORANDUM AND ORDER
        Before the court are the following:

        1.    Arlan Kaufman’s motion for new trial (Doc. 327);
        2.    Linda Kaufman’s motion for judgment of acquittal or new
              trial (Doc. 328);
        3.    Government’s response (Doc. 332).
        Except where otherwise noted, defendants have adopted each

others’ motions.          For the following reasons, the motions are

denied.
                                  Applicable Law
        The court and the parties are familiar with the standards
pertaining      to   post-trial    motions,        which    will    not   be      detailed
herein.

                         Brady v. Maryland Violation
        Defendants contend that the government failed to provide them

with Brady materials concerning the interviews of Patricia Girard
and Kevin Roberts.            Defendants assert that they believe that
“promises were made to Mr. Roberts prior to his testimony regarding

he [sic] was not going to get into trouble.                   Ms. Girard testified
  Case 5:04-cr-40141-JTM   Document 339    Filed 01/09/06    Page 2 of 15




to being interviewed and offered accommodations so she would not
have to go to the expense of attending the grand jury in Topeka.

The     defense   respectfully    submits       there       is    a   ‘reasonable
probability’ that there would have been a different verdict had
this information been provided.”           (Doc. 327 at 2).
      Kevin Roberts, one of defendants’ victims, testified for the

government.       The court has reviewed its notes, which do not

disclose any questioning regarding promises made to Roberts or any
Brady issues.     The court’s notes are not verbatim, of course, and
the subject may (or may not) have been covered.                  In its response,
the government has attached a letter dated August 11, 2005 to
defense counsel which states “when the government first interviewed

Mr. Roberts he expressed concern that he would be prosecuted.                 The
government assured him he would not be prosecuted, as we knew and
know of nothing he has done to warrant prosecution.                    We do not
consider such a statement to be a promise or Giglio material.”                The
court cannot recall whether the contents of this letter were

brought to the court’s attention prior to or during trial.
      Patricia Girard testified for defendants.                  Girard lived on

defendants’ farm where some of defendants’ victims worked in the
nude.    The court recalls Girard because she claimed an inability
to read or write and because the tone of her testimony was quite

hostile toward the government and friendly toward defendants.                 She
was examined at length regarding the circumstances of her interview
conducted by government investigators and counsel which was given
in lieu of her appearance before the grand jury.
      The court finds that defendants have not demonstrated a Brady

                                     -2-
     Case 5:04-cr-40141-JTM      Document 339     Filed 01/09/06   Page 3 of 15




violation with respect to Kevin Roberts or Patricia Girard.                             It
affirmatively          appears     that     the     government     withheld       nothing

exculpatory; rather, defendants were aware of the matters they seem
to suggest amounted to a Brady violation.                    But even if they were
not aware, they have not explained how the information would have
resulted in different verdicts.              Based on the court’s review of its
notes and its recollection of the evidence, the court can say with

absolute certainty that the verdicts would not have been different.
              Failure to Allow Testimony of Cynthia Steinhauser
        The    court   adheres     to     rulings    made   with    respect       to   this
potential witness as set forth in its Memorandum and Order of
November 7, 2005 (Doc. 308) and those made orally in open court.

                              Insufficient Evidence
        Defendants contend that “ . . . the evidence was insufficient

to    convict and the jury ignored the direct eye witness testimony
of the residents.”         (Doc. 327 at 4).          Defendants do not specify how
the evidence was insufficient or the testimony which the jury

supposedly ignored. The government’s evidence was far more than
sufficient; it was overwhelming.
            Count 32 - Failure to Give Requested Jury Instruction
                            (Arlan Kaufman Only)1
        Count 32 charged defendants with a violation of 18 U.S.C. §§

1035(a)(2) and (2), as follows:
             On or about February 21, 2001, in the District of
        Kansas, the defendants
                                  ARLAN DEAN KAUFMAN
                                          and

        1Linda Kaufman was acquitted on Count 32.

                                            -3-
  Case 5:04-cr-40141-JTM   Document 339     Filed 01/09/06   Page 4 of 15




                           LINDA JOYCE KAUFMAN

     in connection with the delivery of and payment for health
     care benefits, knowingly and willfully made, attempted to
     make,   and  caused   to  be   made,   materially   false
     representations, writings, and documents, knowing the
     same to contain materially false, fictitious, and
     fraudulent statements and entries, in that the defendants
     manufactured records to respond to a request for records
     from Medicare.
     The court gave the following elements instruction with respect

to Count 32:
          This law makes it a crime to knowingly and willfully
     make false material statement or representations in order
     to obtain benefits from a health care benefits program.

          To find the defendant guilty of this crime you must
     be convinced that the government has proved each of the
     following elements beyond a reasonable doubt:
          First: on or about the dates alleged, the defendant
     knowingly made and used a materially false writing and
     document;
           Second: the defendant acted willfully;

          Third: the defendant knew the writing and document
     contained materially false, fictitious, or fraudulent
     statements and entries;
          Fourth: the false writing and document was in
     connection with the delivery of and payment for health
     care benefits;
          Fifth: the delivery of and payment for health care
     benefits was from a health care benefit program; and,
          Sixth: some or        all   of    the   defendant’s       actions
     occurred in Kansas.
     Medicare is a “health care benefit program”
(Doc. 305 at 75, Instr. #23).         The court also gave a “good faith”
instruction.    (Id. at 89, Instr. #33).

     Defendant Arlan Kaufman proposed the following instruction:
          Health care fraud does not include that conduct
     which constitutes abuse of a health care benefit program.

                                      -4-
  Case 5:04-cr-40141-JTM    Document 339    Filed 01/09/06   Page 5 of 15




     Abuse of a health care benefit program describes
     incidents or practices of providers that are inconsistent
     with accepted sound medical, business, or fiscal
     practices. Abuse includes that conduct that directly or
     indirectly results in unnecessary costs to a health care
     benefit program, improper payment, or payment for
     services which fail to meet professionally recognized
     standards of care, or that are medically unnecessary.

(Doc. 264-2 at 3).     Defendant supported his requested instruction
by citing Siddiqi v. United States, 98 F.3d 1427 (2nd Cir. 1996).
A transcript of the        instruction conference has yet to be prepared
but the court’s recollection of counsel’s argument in support of
the instruction was that the evidence might show that defendants

failed to keep adequate records but that would not be fraud.                    The
court refused the requested instruction.
     The court has re-read Siddiqi, which was an appeal from denial
of post-conviction relief, as well as United States v. Siddiqi, 959
F.2d 1167 (2d Cir. 1992), the opinion on direct appeal.                     Siddigi

involved false medicare claims but the defendant was not charged
under § 1035(a)(2).        Moreover, there is no demonstrable parallel
between the facts in Siddiqi and those in this case.                 Ultimately,
the Court of Appeals granted post-conviction relief because of what
it termed the government’s “shifting theories” which were not

supported by evidence or were inadequate as a matter of law.                    The
court is unable to find in either opinion language which would
support the requested instruction.
     The court is satisfied that its instructions, considered as a

whole, correctly stated the law and that it was not error for the

court to refuse Arlan Kaufman’s requested instruction regarding
count 32.


                                      -5-
  Case 5:04-cr-40141-JTM   Document 339    Filed 01/09/06   Page 6 of 15




       Count 33 - Insufficiency as a Matter of Law and Fact
                       (Linda Kaufman Only)
     Count 33 charged:
                      OBSTRUCTING A FEDERAL AUDIT
          The Grand Jury incorporates by reference Paragraphs
     1 through 51 as though fully restated and realleged
     herein.
          On or about February 21, 2001, in the District of
     Kansas, the defendants

                            ARLAN DEAN KAUFMAN
                                    and
                           LINDA JOYCE KAUFMAN
     with the intent to deceive and defraud the United States,
     endeavored to influence, obstruct, and impede a Federal
     auditor in the performance of official duties relating to
     a person, entity or program receiving in excess of
     $100,000, directly or indirectly, from the United States
     in any one year period under a contract or subcontract,
     grant, or cooperative agreement, in that the defendants
     submitted to Medicare documents manufactured in response
     to Medicare's request for documentation supportive of the
     claims defendants' submitted to Medicare.

          The foregoing is in violation of Title 18, United
     States Code, Sections 1516 and 2.
     The court gave the following elements instruction with respect

to Count 33:
          This law makes it a crime to obstruct a federal
     audit under certain specific circumstances.

          To find the defendant guilty of this crime you must
     be convinced that the government has proved each of the
     following elements beyond a reasonable doubt:
          First: on or about the dates alleged, the defendant
     endeavored to influence, obstruct, or impede a federal
     auditor in the performance of official duties;
          Second: the defendant did so with intent to deceive
     or defraud the United States;
          Third: The performance of the federal auditor's
     official duties related to a person or entity receiving
     in excess of $100,000, directly or indirectly, from the

                                     -6-
     Case 5:04-cr-40141-JTM   Document 339      Filed 01/09/06   Page 7 of 15




        United States in any one-year period under a contract or
        subcontract; and,
             Fourth: some or        all    of   the    defendant’s      actions
        occurred in Kansas.
             The term "federal auditor" means any person employed
        on a full- or part-time or contractual basis to perform
        an audit or a quality assurance inspection for or on
        behalf of the United States.
             The term “endeavor” means any effort or any act,
        however contrived, to obstruct, impede or interfere with
        a federal auditor. It is the “endeavor” which is the gist
        of the crime. Success of the endeavor is not an element
        of the crime.   Any effort, whether successful or not,
        that is made for the purpose of obstructing, impeding or
        interfering with a federal auditor, or that had the
        natural and probable effect of obstructing, impeding or
        interfering with a federal auditor, is prohibited.
             The term "in any one-year period" means a continuous
        period that commences no earlier than twelve months
        before the commission of the offense or that ends no
        later than twelve months after the commission of the
        offense. Such period may include time both before and
        after the commission of the offense.
(Doc. 305 at 77, Instr. #24).             The “good faith” instruction also
applied to Count 33.
        Linda Kaufman makes two arguments with respect to Count 33.

One argument is essentially legal in nature; the other is factual.
Her legal argument will be discussed first because if it is
correct, she would be entitled to acquittal as a matter of law.
        Linda Kaufman contends that Blue Cross Blue Shield of Kansas

is    not   a   federal   auditor   within       the   meaning     of   18   U.S.C.   §

1516(b)(1) but she does not explain why Blue Cross Blue Shield of
Kansas does not fall within the statutory definition.                   Instead, she
relies exclusively on United States v. Plasser American Corp., 57
F. Supp. 2d 140 (E.D. Pa. 1999) which rejected the government’s
position that Amtrak is a federal agency and thus concluded that

                                          -7-
  Case 5:04-cr-40141-JTM   Document 339     Filed 01/09/06   Page 8 of 15




Amtrak’s auditor could not be considered a federal auditor acting
“for or on behalf of the United States” as contemplated by §

1516(b).   What is missing is any explanation why Amtrak (which,
by law, is “not a department, agency             or instrumentality of the
United States government,” 49 U.S.C. § 24301(a)(3)) should somehow
be equated with the Medicare program.
     A good summary of Medicare is found in United States v.

Whiteside, 285 F.3d 1345, 1346 (11th Cir. 2002):
          Medicare is a federal health insurance program
     designed to provide medical services, medical equipment,
     and supplies to persons 65 years of age and older and to
     blind and disabled persons. Congress established Medicare
     through Title XVIII of the Social Security Act, 79 Stat.
     291 (1965) (current version at 42 U.S.C. §§ 1395-1395vv
     (1994)). The United States Department of Health and Human
     Services (“HHS”) funds and administers Medicare. The
     Health Care Financing Administration (“HCFA”), an agency
     within HHS, manages the Medicare program.2
See also United States v. McGovern, 329 F.3d 247, 248 (1st Cir.

2003) (Medicare is a federally subsidized health insurance program
for the elderly and for persons with certain disabilities that is
administered by CMS and private contractors . . . Medicare [program
is a] health care benefit program as defined in 18 U.S.C. § 24(b).)
42 U.S.C. § 1320a-7a(i)(4) defines the term “agency of the United

States” to include any contractor active as a fiscal intermediary,
carrier or fiscal agent or any other claims processing agency for
a federal health care program.3           The evidence was that Blue Cross


     2
     The Health Care Financing Administration is now known as
Centers for Medicare & Medicaid Services (CMS).
     3
     42 U.S.C. § 1320a-7a imposes civil monetary penalties for
various proscribed billing practices related to Social Security and
Medicare.   Defendants have not been charged under this statute.

                                     -8-
  Case 5:04-cr-40141-JTM    Document 339     Filed 01/09/06    Page 9 of 15




Blue Shield of Kansas contracted with CMS to audit the Kaufmans
because they were providers who submitted claims to Medicare.

     The court thus rejects Linda Kaufman’s legal argument that
Blue Cross Blue Shield of Kansas was not a federal auditor.
     Linda   Kaufman’s       second    argument     is    that    there       was   not
sufficient   evidence to show that she aided and abetted her husband
in the crime of obstructing a federal audit.                  The court disagrees

and finds that there was substantial evidence that Linda Kaufman
knew that claim forms she was preparing and submitting contained
false information and that she was uncooperative with auditors.
It was for the jury to decide whether Linda Kaufman’s actions
constituted aiding and abetting under all the circumstances.                        The

jury found that they did and the court finds no reason to disagree
with the jury’s verdict.
                       Improper Closing Arguments
     During her closing argument, one of the prosecutors made

certain   statements,      some   of   which    were     objected    to   by    Linda

Kaufman’s counsel.         A partial transcript of the closing argument
is attached to the government’s response.              There are four instances
which are claimed to be improper comments on Linda Kaufman’s
failure to testify.
     In the first instance, counsel argued: “Arlan Kaufman also

inflicted serious harm when he choked Barbara, grabbed her hair and
shoved her into a urine-soaked bed sheet; and forcibly silenced her



While not precisely on point, this section is informative for its
declaration that the term “agency of the United States” is to be
construed broadly in the Medicare context.

                                       -9-
 Case 5:04-cr-40141-JTM    Document 339   Filed 01/09/06    Page 10 of 15




by putting his hand over her mouth.           Kevin, Peter and Nancy all
told you about these things.        The only witness to contradict them

is Arlan Kaufman.”        No objection was made to this argument.
    In the second instance, counsel stated: “You heard Kevin and

Jonathan both tell you that Mary and Barbara continued to perform
sexual acts for the Defendants until each of them left the house
in 2001 and 2004 respectively.            No one has contradicted that

testimony.”   No objection was made to this portion of the argument.
    In the third instance, counsel stated: “As well as testimony

that Barbara’s and Mary’s sexual labor was continuous from the time
it started in the 1990s until the time they left the Kaufman House.
Again, no one has contradicted this testimony.”               This time, Linda

Kaufman’s counsel objected saying: “Fifth Amendment violations are
just repeatedly happening here with her.                   The defendant Linda
Kaufman has not contradicted this evidence.” The court immediately
instructed the jury as follows:
    Well, the jury will be instructed, as it has been
    instructed, that a defendant does not have to testify or
    otherwise produce evidence.     Linda Kaufman did not
    testify. She did, however, produce evidence. You may
    consider the evidence that she produced but you may not
    and must not consider the fact that she did not testify
    in any way in reaching your verdict.
No objection was made to this admonition.
    The   fourth    and    final   instance    related       to   the   following

statement by government counsel:          “What better evidence could you
have of the power the defendants wielded and the damage they caused
with it than to compare the Kevin you saw in those videotapes to
the Kevin you saw in this courtroom?             And you should also make
another comparison.         This time between the credibility of the

                                     -10-
 Case 5:04-cr-40141-JTM       Document 339     Filed 01/09/06    Page 11 of 15




government’s witnesses and the only person to contradict them.                        The
only person who chose to contradict them, defendant Arlan Kaufman.”

Counsel again objected and the court responded: “The jury has heard
my instruction several times on this matter and I’m sure will be
able to disregard comments that infringe upon the Fifth Amendment
rights of defendant Linda Kaufman.”               No objection was made to this
admonition and no request was made for an additional instruction.

      In addition to the instructions given during the government’s
closing argument, the court instructed the jury at the outset of
the case and again in its instructions at the end of the case that
no defendant has an obligation to testify and that the jury cannot
consider in any manner Linda Kaufman’s failure to testify.                          (Doc.

305   at    103,   Instr.    #45).       No   objections        were   made    to   these
instructions.
      The    Supreme       Court   has    endorsed      “the     almost       invariable
assumption of the law that jurors follow instructions.” Richardson
v. Marsh, 481 U.S. 200, 206, 107 S. Ct. 1702, 1707, 95 L. Ed. 2d

176 (1987).        See also United States v. Cooley, 1 F. 3d 985, 997
(10th Cir. 1993) (jurors are presumed to follow instructions).
      Assuming,      without       deciding,      that      counsel’s         statements
constituted improper comments on Linda Kaufman’s election not to
testify, it is inconceivable in view of the mountain of evidence,

the court’s other instructions and the fact that the jury acquitted
Linda      Kaufman   on     one    count,     that    the    jury      abdicated     its
responsibility       and    convicted     Linda      Kaufman     solely   because      of
counsel’s argument or that the argument prejudiced Linda Kaufman
in any way. The suggestion is so preposterous that it deserves no

                                         -11-
 Case 5:04-cr-40141-JTM   Document 339    Filed 01/09/06   Page 12 of 15




further comment.
           Denial of Defendants’ Right of Confrontation

    By letter of September 30, 2005, the court informed counsel of
its rulings on several pretrial issues (Doc. 268).              The court does
not have the benefit of the transcript of the status conference
referred to in the letter.           In     general,   however,     the    letter
reflects   the   concern,   raised    numerous      times    during    pretrial

proceedings before both magistrate and district judges, regarding
the rights of Kaufman House residents or victims versus the rights
of defendants.     The letter stated, in part:
         I’ll comment briefly on Mr. Lowry’s motion. It is
    my   understanding   that  Judge   Bostwick   restricted
    defendants’ contact with the victims. I am not inclined
    to change his ruling, especially at this late hour.
    Defendants will not have contact with the victims in any
    fashion during the trial without my permission. To the
    extent possible, defendants will avoid eye contact with
    the victims when they are in court. I don’t want to deal
    with complaints that defendants are trying to influence
    or intimidate victims through eye contact.
         Unless there is an order in the record to the
    contrary, I will not prohibit contact between the
    victims, defense counsel and defense investigators. I
    will expect any person seeking to contact a victim, or a
    victim’s family member, to identify himself, state who he
    represents, the purpose of his contact and that the
    contactee is not required to speak with him.     Defense
    counsel will be responsible for conveying these
    instructions to their staffs and investigators. Under no
    circumstances will it be stated or inferred that I have
    directed any contact with a victim or have required a
    victim to speak with anyone.

To the court’s knowledge, no objection was raised regarding the
court’s “eye contact” admonition, either in writing or orally.
    A second admonition was given on October 18.                    One of the
prosecutors informed a member of the court’s staff of her concern
over a situation which allegedly occurred between Arlan Kaufman and

                                     -12-
 Case 5:04-cr-40141-JTM      Document 339   Filed 01/09/06    Page 13 of 15




Kevin Roberts, one of the victims.            When the trial resumed, but in
the jury’s absence, the following took place:

           THE COURT:    All right. Now, before we bring Kevin
      out, apparently there was some situation involving Mr.
      Kaufman and Kevin during the break.
            MS. TREADWAY: Yes, Judge.
           THE COURT:     I don’t want to know what happened.
      I don’t care what happened.       But I’m telling the
      Defendants right now so that they clearly understand. I
      made it clear in a letter to counsel, but maybe they
      didn’t see that letter.    There isn’t going to be any
      eyeballing of any of these witnesses.    There’s no eye
      contact. There’s no verbal contact. That is my order.
      If you violate it, you’ll be in contempt and you will go
      straight to jail. Do both of you understand that? There
      won’t be any monetary fines. There won’t be any second
      chances.   You’ll be in jail for the duration of the
      trial. Do both of you understand that?
            DEFENDANT MRS. KAUFMAN: Yes, sir.
           THE COURT:     You’re lucky not to be in jail now;
      but you’re going to stay out as long as you behave
      yourselves and you have so far; but if I find out that
      any of that’s going on, that’s the end. All right. I’m
      not saying it happened. I’m not saying it didn’t happen.
      It’s just not going to happen again if it did, or at all.
Once again no objection was made to this admonition.

      Arlan   Kaufman     now    complains     that     the     court    “severely
chastised” him.      Perhaps, but at the time of this incident, the
court had heard and seen two weeks of testimony regarding Arlan
Kaufman’s (and, to a lesser extent, Linda Kaufman’s) “treatment”
of   the   victims   under    their   care.      Much    of   the   evidence   was

unrefuted and unrefutable because it consisted of videotapes made
by Arlan Kaufman of victims engaging in such “treatment” activities
as genital shaving and group masturbation, all at Arlan Kaufman’s
direction.    Some of the victims had been subjected to these sorts
of “treatment” for several years. In addition, there had been

                                       -13-
 Case 5:04-cr-40141-JTM   Document 339    Filed 01/09/06   Page 14 of 15




considerable testimony, again unrefuted, that the victims suffered
(and still suffer) from mental illnesses, including schizophrenia,

which Dr. Walter Menninger described as the “cancer of mental
illness.”     The court was aware from other cases that intimidation
can occur through means other than direct verbal threats, even when
the person who is the object of the intimidation has no mental
impairment.     The court also was aware of the magistrate judge’s

order made during a detention hearing prohibiting defendants from
having contact with any of the victims, an order which was never
appealed or changed.       The court’s admonition, while blunt, was
intended to insure that defendants clearly understood that they
were not to have contact with any of the victims, thus avoiding

collateral problems which potentially would interfere with the
orderly progress of the trial.
    During     the   trial,    which     lasted   more     than   five     weeks,
defendants sat at counsel table located approximately fifteen feet
from the witness box.         In order to reach the witness box, the

victims had to walk by defendants’ table and, in so doing, were
approximately six feet from defendant Arlan Kaufman.                 At no time
during the trial did defense counsel object or even make the
suggestion that defendants were being denied the right to confront
witnesses because of the court’s admonitions.              At no time was any

sort of screen placed between the victims and defendants, nor was
closed circuit television utilized.          Thus, the two cases cited by
defendants are completely inapplicable.              Coy v. Iowa, 487 U.S.
1012, 1020-21, 108 S. Ct. 2798, 101 L. Ed. 2d 857 (1988) and
Maryland v. Craig, 497 U.S. 836, 110 S. Ct. 3157, 111 L. Ed. 2d 666

                                    -14-
 Case 5:04-cr-40141-JTM      Document 339    Filed 01/09/06    Page 15 of 15




(1990).
      Throughout this case, defendants were well represented by

highly experienced and competent counsel. Under the circumstances,
it    is   doubtful   that     defendants     could     have     received       better
representation.       The court is confident that if at any time during
the    trial,    defendants’       counsel     felt     that        their      clients’
constitutional rights were being violated –and in particular their

right to confront their accusers– counsel would have brought this
to the court’s attention.
                                   Conclusion
      Defendants’     post-trial     motions      (Docs.      327    and    328)   are

overruled.

      IT IS SO ORDERED.
      Dated this       6th      day of January 2006, at Wichita, Kansas.


                                            s/ Monti Belot
                                            Monti L. Belot
                                            UNITED STATES DISTRICT JUDGE




                                       -15-
